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                   UNITED STATES DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

CITY OF HUNTINGTON
   Plaintiff,
v.                                      Civil Action No. 3:17-cv-01362
AMERISOURCEBERGEN DRUG
CORPORATION, et al.,
   Defendants.
________________________________

CABELL COUNTY COMMISSION,
   Plaintiff,                           Consolidated Case:
v.                                      Civil Action No. 3:17-cv-01665
AMERISOURCEBERGEN DRUG
CORPORATION, et al.,
   Defendants.
________________________________


 PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION
      FOR SUMMARY JUDGMENT ON PLAINTIFF CABELL COUNTY
               COMMISSION’S RIGHT TO ABATEMENT
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         Plaintiffs the City of Huntington and Cabell County Commission hereby

submit this Memorandum of Law in Opposition to Defendants’ Joint Motion for

Summary Judgment re Abatement (Doc. 1005). Plaintiffs state in opposition to the

motion as follows.

                                    INTRODUCTION

         Plaintiffs filed this action alleging that Defendants created a public nuisance

by distributing or dumping tens of millions of prescription opioid pills into their

jurisdictions, causing an epidemic of opioid use and abuse that is an immediate,

immense, and ongoing public health and safety hazard. See Corrected Joint and

Third Amended Complaint (3AC) (Doc. 80), ¶¶ 1-12. Plaintiffs seek through this

action to abate the public nuisance harms in their communities. See, e.g., id., ¶¶

13, 29, 1450, 1603(a).

         Defendants moved for summary judgment against Plaintiff Cabell County

Commission (“Cabell County”) on the ground that it “lacks the authority to engage

in any such abatement.” Defendants’ Memorandum (“Memo of Law”) (Doc. 1005-1)

at 1.1 Defendants are incorrect.

         The West Virginia Legislature clearly and unambiguously granted Cabell

County, and all County Commissions in West Virginia, the power and authority to

take “appropriate and necessary actions for the elimination of hazards to public


1Defendants raise this argument only against Plaintiff Cabell County, and not against
Plaintiff City of Huntington. See Joint Motion (“[T]he record evidence establishes that the
Cabell County Commission admittedly lacks the power to abate the alleged public
nuisance.”); Memo of Law at 16 (“Accordingly, Defendants are entitled to summary
judgment against the Cabell County Commission.”). Since the motion does not address City
of Huntington, Plaintiffs’ opposition focuses solely on Cabell County.
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health and safety and to abate or cause to be abated anything which the commission

determines to be a public nuisance.” W. Va. Code § 7-1-3kk. The West Virginia

State Court Mass Litigation Panel (“MLP”) has held that this statute specifically

authorizes County Commissions to bring an action to abate a public nuisance. See

In re Opioid Litig.: Monongalia Cty. Comm’n v. Purdue Pharma L.P., Civil Action

No. 19-C-9000 (W. Va. Cir. Ct. of Kanawha Cty. Oct. 31, 2019) (Order Denying

Distributor Defendants’ Motion to Dismiss Plaintiffs’ Complaint) (“Distributors

Order”) (Ex. 1) at 2-3 (incorporating as “law of the case” prior Circuit Court ruling

attached thereto as Ex. A); id. at Ex. A p. 14 (“Finally, under West Virginia law,

Plaintiffs are specifically authorized to bring an action to ‘abate or cause to be

abated’ a public nuisance.”) (quoting W. Va. Code § 7-1-3kk). The statute thus is

determinative of Cabell County’s authority to abate and compels denial of

Defendants’ motion.2

         Defendants misconstrue the statute or else try to ignore it altogether in

seeking summary judgment on this question. They raise a number of legal, policy,

and purportedly fact-based arguments for why Cabell County lacks authority to

abate a public nuisance, whether the abatement is in the form Plaintiffs seek or

otherwise. None of these arguments has merit. Whether Cabell County, or any

government entity, has authority to take a particular action is a pure question of

law. See, e.g., Al-Tamimi v. Adelson, 916 F.3d 1, 11 (D.C. Cir. 2019) (addressing



2 Plaintiffs fully briefed this issue in their Memorandum of Law in Opposition to
Defendants’ Motion for Summary Judgment Based on Standing (Doc. 287), and hereby
incorporate by reference the arguments made therein.
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“claims presenting purely legal issues such as whether the government had legal

authority to act”) (internal quotation marks and citations omitted); U.S. West

Comms. Servs., Inc. v. U.S., 940 F.2d 622, 625 (Fed. Cir. 1991) (“The question of

whether the board has statutory authority to consider the protest of a potential

subcontractor in a procurement of ADPE by a government prime contractor involves

a pure legal issue.”). The plain language of § 7-1-3kk thus is controlling—Cabell

County has authority to abate a public nuisance, and Defendants’ motion for

summary judgment on this question should be denied.

                                   LEGAL STANDARD

       Whether Cabell County has authority to abate a public nuisance is a pure

question of law. See, e.g., Al-Tamimi, 916 F.3d at 11; U.S West, 940 F.2d at 622.

This Court decides a “‘purely legal question . . . de novo . . . .’” Sennett v. U.S., 667

F.3d 531, 537 (4th Cir. 2012) (quoting S.P. v. City of Takoma Park, Md., 134 F.3d

260, 272 (4th Cir. 1998)). Thus, no party bears any evidentiary burden on this

motion. See, e.g., Jones v. Owens-Corning Fiberglas Corp., 69 F.3d 712, 719 n.6

(4th Cir. 1995) (“[W]e find that this summary judgment ruling involves purely a

question of law, and therefore, OCF was under no obligation at the summary

judgment stage to come forward with factual material to support that aspect of its

contributory negligence defense. We therefore have no occasion to review the

summary judgment record to determine whether this defense is factually

supported.”) (citation omitted).




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                                    ARGUMENT

      Defendants’ motion is based entirely on their argument that Cabell County

“lacks the authority to engage in [public nuisance] abatement.” Memo of Law at 1.

Since W. Va. Code § 7-1-3kk clearly provides this authority, Defendants’ motion

rests on a legally incorrect premise and for that reason alone should be denied.

None of the legal, public policy, or purportedly fact-based arguments that

Defendants raise establishes otherwise. Each of these is addressed in turn.

      A.     Defendants’ Legal Arguments Are Incorrect.

      Defendants raise two legal arguments against holding that Cabell County

has authority under § 7-1-3kk to abate the public nuisance harms in its

communities as sought herein. Both arguments are incorrect as a matter of law.

             1.    Cabell County Permissibly Seeks an Affirmative Injunction to
                   Abate.

      First, Defendants contend that § 7-1-3kk does not permit the abatement

relief that Cabell County seeks. Plaintiffs seek funding of an abatement program

that includes affirmative measures to improve opioid prescribing and pain

treatment practices, identify and treat persons with Opioid Use Disorder (OUD),

and create customized remedies for specific community subpopulations, such as

pregnant women, new mothers and infants, adolescents and young adults, families

and children, the homeless, and the housing insecure. See Ex. 2 (excerpts of Expert

Witness Report of G. Caleb Alexander, MD, MS), ¶¶ 33, 36. Defendants argue that

Cabell County lacks authority to obtain this abatement relief because, under § 7-1-

3kk and West Virginia law generally, “the power to abate is the power to enjoin”

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and, based on the foregoing, Cabell County “does not seek an injunction.” Memo of

Law at 15; see also id. at 13 (“No code provision, however, authorizes county

commissions to provide or pay for treatment or recovery services for substance

abuse.”). This argument misconstrues and unduly narrows the scope of nuisance

abatement under West Virginia law.

      The West Virginia Supreme Court of Appeals long has held that an

injunction to abate a public nuisance may take the form of either a restraining

injunction to prevent a prospective nuisance or, far more commonly, an affirmative

injunction to effectuate remediation of an existing or continuing nuisance. See Duff

v. Morgantown Energy Assocs., 187 W. Va. 712, 716, 421 S.E.2d 253, 257 (1992)

(“While courts generally grant injunctions to abate existing nuisances, there is also

authority for courts to enjoin prospective or anticipatory nuisances.”); see also State

ex rel. Smith v. Kermit Lumber & Pressure Treating Co., 200 W. Va. 221, 245, 488

S.E.2d 901, 925 (1997) (“A public nuisance action usually seeks to have some harm

which affects the public health and safety abated. Thus, until such harm is abated,

the public nuisance is continuing . . . .”); Weston v. Ralston, 48 W. Va. 170, 194, 36

S.E. 446, 456 (1900) (“Courts of equity interfere to restrain and prevent public

nuisances threatened or in progress, as well as to abate those already existing.”)

(internal quotation marks and citation omitted).

      The prospective costs for addiction treatment and services Plaintiffs seek are

akin to the environmental cleanup costs sought and found recoverable to abate the

public nuisance in Kermit Lumber. See 200 W. Va. at 245; 488 S.E.2d at 925. This,


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in effect, is what the State Court Mass Litigation Panel has held in opioid litigation.

See In re Opioid Litig., Civil Action No. 19-C-9000 (W. Va. Cir. Ct. of Kanawha Cty.

July 29, 2020) (Order re Plaintiffs’ Motion to Strike Defendants’ Notices of Non-

Party Fault) (Ex. 3) at 9 (“[T]he cost of providing opioid education programs or

treatment centers might be part of the equitable relief to abate Plaintiffs’ alleged

public nuisance – the opioid crisis . . . .”).

       Authority elsewhere holds the same. Federal and state courts long have

recognized that an injunction to abate a public nuisance may, and very often must,

direct the liable party to fund or undertake affirmative remedial measures to abate

an existing and continuing nuisance. See, e.g., City of San Mateo v. Peabody

Energy Corp., 958 F.3d 717, 724 (8th Cir. 2020) (“In California, a party who

commits a public nuisance can be ordered to pay into a fund, overseen by a receiver,

to remedy or eliminate the hazard complained of rather than being ordered to clean

up the nuisance themselves.”); U.S. v. Price, 688 F.2d 204, 213 (3d Cir. 1982) (“It is

not unusual for a defendant in equity to expend money in order to obey or perform

the act mandated by an injunction.”); People v. ConAgra Grocery Prods. Co., 17 Cal.

App. 5th 51, 134 (2017) (“The abatement fund ordered by the trial court was a

reasonable method of prefunding the remediation that is required to abate the

public nuisance created by defendants.”); Fox v. Norfolk S. Corp., 802 S.E.2d 319,

335 (Ga. Ct. App. 2017) (“Furthermore, a continuing nuisance claim . . . allows the

plaintiff to obtain injunctive relief requiring the defendant to take affirmative

action to abate the nuisance.”); Hutton v. School City of Hammond, 142 N.E. 427,


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429 (Ind. 1924) (“[C]ourts have sometimes interfered by making interlocutory orders

commanding that the nuisance be abated by doing affirmative acts to restore the

conditions which existence before the alleged wrong was done.”).

      So, too, does the Restatement (Second) of Torts, which West Virginia courts

have followed on questions related to public nuisance. See, e.g., Duff, 187 W. Va. at

716 n.6, 421 S.E.2d 257 n.6 (“We believe this definition is consistent with the

Restatement (Second) of Torts § 821B(1) (1979), which defines a public nuisance as

an unreasonable interference with a right common to the general public.”);

Hendricks v. Stalnaker, 181 W. Va. 31, 34, 380 S.E.2d 198, 200 (1989) (citing

Restatement §§ 821D, 821F, and 822 in delineating boundary between public and

private nuisance). In assessing liability for public (or private) nuisance, the

Restatement explains that the “conduct necessary to make the actor liable for either

a public or a private nuisance may consist of . . . a failure to act under

circumstances in which the actor is under a duty to take positive action to prevent

or abate the interference with the public interest or the invasion of the private

interest.” Restatement (Second) of Torts, § 824(b) (1979) (emphasis added).

      The Multidistrict Litigation Court (MDL Court) likewise has recognized

exactly this point—that its equitable powers include the discretion to direct opioid

manufacturer and distributor defendants in this litigation to “pay the prospective

costs that will allow Plaintiffs to abate the opioid crisis” in their communities. In re

Nat’l Prescr. Opiate Litig., No. 1:17-md-2804 (N.D. Ohio Aug. 26, 2019) (Doc. 2519)




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(Ex. 4) at 3. This Court has the same equitable powers and may, at the appropriate

time, order the same abatement relief for Plaintiffs here.

      It is thus clear that Cabell County’s authority to abate a public nuisance

under W. Va. Code § 7-1-3kk, as under West Virginia law generally, includes the

right to an injunction like that sought herein directing affirmative remediating

actions by Defendants.

             2.    The WVCSA Does Not Preempt Cabell County’s Claim.

      Defendants also argue that the West Virginia Controlled Substances Act

(WVCSA), W. Va. Code §§ 60A et seq., preempts Cabell County’s public nuisance

abatement authority as it applies to prescription opioid distribution. See Memo of

Law at 15-16 (“The state also comprehensively regulates the distribution of

prescription drugs, including controlled substances, thereby preempting the field

and leaving no room for local control by the Cabell Commission.”) (internal

quotation marks omitted). It does not.

      The State Court MLP has considered and rejected this argument as made by

Defendants and other opioid distributors. In the Distributors Order, the MLP held

that West Virginia County Commissions asserted actionable negligence and public

nuisance claims against opioid distributors based in part on unlawful conduct

violating the WVCSA. See Ex. 1 (Distributors Order) at Ex. A pp. 4-7 (negligence),

pp. 13-14 (public nuisance). In so ruling, the MLP held that it was consistent with

the WVCSA for the County Plaintiffs to assert common law claims for which the

statute provided an applicable standard of care. See id. at Ex. A p. 4 (“The Court


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finds and concludes that Plaintiffs are not attempting to assert a private right of

action under the WVCSA. Instead, the Court finds and concludes that Plaintiffs

rely on the WVCSA to help establish a standard of care for their common-law

negligence claims, which is permissible under the law.”). Another West Virginia

Court has held the same with respect to common law claims by the State. See State

of West Virginia ex rel. Morrisey v. AmerisourceBergen Drug Corp., No. 12-C-141,

2014 WL 12814021, at *7 (W. Va. Cir. Ct. of Boone Cty. Dec. 12, 2014) (Ex. 5) (“A

violation of a statute or ordinance can constitute actionable negligence); see also id.

at *9 (rejecting argument that the Legislature intended through the WVCSA to

prohibit public nuisance action based on distribution conduct).

      The MDL Court likewise recently rejected the argument by national

pharmacy defendants that Ohio’s Controlled Substances Act creates a

comprehensive regulatory scheme that preempts state common law claims based on

distribution or dispensing conduct. As the Court explained:

      Using an argument analogous to field preemption, Defendants also
      assert the specificity and comprehensive nature of Ohio’s regulatory
      scheme governing distribution and dispensing of controlled substances
      implies an intent by the General Assembly to displace the common law
      . . . . Nothing . . . indicates an intent by the General Assembly that
      comprehensive statutory language should work to abolish common law
      causes of action or available remedies.

In re Nat’l Prescr. Opiate Litig., No. 1:17-md-2804 (N.D. Ohio Aug. 6, 2020) (Doc.

3403) (Ex. 6) at 8-9. This Court should hold the same here.

      Defendants’ citation to EQT Prod. Co. v. Wender, 191 F. Supp. 3d 593 (S.D.

W. Va. 2016), see Memo of Law at 15-16, does not support a contrary conclusion. In


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EQT, the Court held that the Department of Environmental Protection (DEP) had

exclusive authority to regulate gas and oil exploitation in West Virginia based on an

express statutory provision. See id. at 598 (citing W. Va. Code § 22-6-2(c)(12), which

provides that the DEP Secretary shall “[p]erform all duties as the permit issuing

authority for the state in all matters pertaining to the exploration, development,

production, storage and recovery of this state’s oil and gas[.]”) (emphasis added).

The WVCSA, by contrast, affords State officers enforcement powers, see W. Va.

Code § 60A-5-501, and authorizes actions for injunctions, see W. Va. Code § 60A-5-

503(a), without expressing the intent to make State enforcement the sole means of

addressing unlawful controlled substances distribution conduct.3

       For all of these reasons, the WVCSA does not preempt W. Va. Code § 7-1-

3kk’s conferral of authority on Cabell County and other County Commissions to

abate the public nuisance harms of the opioid epidemic in their communities.

       B.     Defendants’ Public Policy Argument is Contrary to West Virginia Law.

       Defendants also argue that Cabell County is the “wrong plaintiff” in this

action based upon arguments made by certain States in amicus curiae brief filings

to other courts. Defendants contend that these States “have been vocal that cities

and counties are the wrong plaintiffs—indeed, that their lawsuits impede a global




3 In this regard, the WVCSA is similar to the federal CSA, which expressly preserves state
authority. See 21 U.S.C. § 903 (“No provision of this subchapter shall be construed as
indicating an intent on the part of the Congress to occupy the field in which that provision
operates, including criminal penalties, to the exclusion of any State law on the same subject
matter which would otherwise be within the authority of the State, unless there is a
positive conflict between that provision of this subchapter and that State law so that the
two cannot consistently stand together.”).
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resolution with opioid manufacturers, distributors, pharmacies, and others.” Memo

of Law at 9-10. The Court should reject this argument for two reasons.

      First, and foremost, it is contrary to West Virginia law. The Legislature

conferred upon Cabell County and other Commissions the power and authority to

take “appropriate and necessary actions . . . to abate or cause to be abated anything

which the commission determines to be a public nuisance.” W. Va. Code § 7-1-3kk.

This clear legislative authorization cannot be overridden by the State, let alone

other States, through filing amicus briefs in litigation. See Bowen v. Georgetown

Univ. Hosp., 488 U.S. 204, 213 (1988) (“Deference to what appears to be nothing

more than an agency’s convenient litigating position would be entirely

inappropriate.”); see also Kisor v. Wilkie, 139 S. Ct. 2400, 2417 n.6 (2019) (“The

general rule, then, is not to give deference to agency interpretations advanced for

the first time in legal briefs. But we have not entirely foreclosed that practice.”).

The West Virginia Code provision thus is controlling, and Defendants’ public policy

arguments should be directed to the Legislature, not this Court.

      Second, this argument also is misplaced on its own terms. Defendants, again

repeating the States, contend that while they recognize “‘the tremendous impact the

opioid crisis has had on many cities and counties within our States, the’ cities and

counties ‘lack the broad powers and duties that are necessary to effectively protect

the States’ citizenry as a whole.’” Memo of Law at 10 (quoting Amicus Curiae

Letter Regarding Plaintiffs’ Renewed and Amended Notice of Motion for Class

Certification of Rule 23(b)(3) Cities/Counties Negotiation Class at 2, In re Nat’l


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Prescr. Opiate Litig., No. 1:17-md-2804, Doc. 1951 (N.D. Ohio July 23, 2019))

(emphasis in Memo). Cabell County, however, does not seek to protect the State’s

citizenry as a whole, but rather to abate the opioid epidemic public nuisance harms

within its own community. See 3AC, ¶ 13 (“Plaintiffs bring this civil action to

eliminate the hazard to public health and safety [and] to abate the public nuisance

caused by the opioid epidemic in the City and County . . . .”); Ex. 2 (Alexander

Report), ¶ 33 (“There are three major categories of remedies that must be

undertaken to address the opioid epidemic in the Cabell-Huntington Community.”).

      The Court thus should reject Defendants’ public policy argument for

summary judgment on Cabell County’s claim on grounds of alleged lack of authority

to abate as both contrary to West Virginia law and mistaken on its own terms.

      C.     Defendants’ Purportedly Fact-Based Arguments Are Incorrect as to
             Both Fact and Law.

      Defendants devote much of their motion to arguing that Cabell County,

through the Rule 30(b)(6) deposition testimony of County Administrator Beth

Thompson, purportedly admitted that it lacks authority to abate the public

nuisance harms of the opioid epidemic. See Memo of Law at 1 (“But the

Commission—by its own admission—lacks the authority to engage in any such

abatement.”); id. at 11 (Thompson’s “testimony constitutes a frank admission that

the Commission is the wrong plaintiff.”); id. at 12 (“[T]he Commission—by its own

admission—lacks the power to create or fund abatement programs.”). It did not,

and could not.




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       First, Defendants’ “admission” argument is wrong as a matter of law. Even if

Ms. Thompson had testified that Cabell County has no legal authority to abate a

public nuisance—which she did not—this would not support summary judgment

because a County Executive’s deposition testimony can no more determine what the

law is than can a State’s amicus brief. See Argument § B, supra. Indeed, this

testimony is even less probative on this issue.

       What actions Cabell County has legal authority to take is a pure question of

law. See, e.g., Al-Tamimi, 916 F.3d at 11 (addressing “claims presenting purely

legal issues such as whether the government had legal authority to act”) (internal

quotation marks and citations omitted); U.S. v. Kelley, 956 F.2d 748, 751 (8th Cir.

1992) (“[T]he district court’s decision that it had no power to depart [from U.S.

Sentencing Guidelines section 5k1.1] is a pure question of law.”); U.S. West, 940

F.2d at 625 (“The question of whether the board has statutory authority to consider

the protest of a potential subcontractor in a procurement of ADPE by a government

prime contractor involves a pure legal issue.”); U.S. v. Doe, 934 F.2d 353, 356 (D.C.

Cir. 1991) (“[T]he district court’s decision that it possessed authority to depart from

section 5K1.1 even absent a government motion presents a pure question of law.”);

Taylor v. U.S., 711 F.2d 1199, 1202 (3d Cir. 1983) (“[T]he government’s position is

that it had legal authority to extend Taylor’s enlistment involuntarily. It concedes

that this issue is purely legal.”).

       Since whether Cabell County has authority to abate a public nuisance is a

pure question of law, Ms. Thompson’s testimony on this issue—whether as the


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County’s Rule 30(b)(6) designee or otherwise—is neither relevant nor admissible

evidence. See U.S. v. McIver, 470 F.3d 550, 562 (4th Cir. 2006) (“[O]pinion

testimony that states a legal standard or draws a legal conclusion by applying law

to facts is generally inadmissible.”); Cisson v. C.R. Bard, Inc., 948 F. Supp. 2d 589,

629 (S.D. W. Va. 2013) (same); see also Pillars v. GM LLC, 957 F.3d 357, 360 (2d

Cir. 2020) (“To constitute a judicial admission, the statement must be one of fact—a

legal conclusion does not suffice.”); Pitcairn v. Am. Refrig. Transit Co., 101 F.2d 929,

935 (8th Cir. 1939) (“[T]he admission of a legal conclusion is not binding on either

the trial or appellate court, nor on the party by whom made.”).

      Thus, no matter how many times Defendants may think their lawyer got Ms.

Thompson to “admit” that Cabell County has no authority to abate a public

nuisance, this does not make it so. See O’Brien v. Office of Personnel Mgmt., 144

F.3d 1458, 1462 (Fed. Cir. 1998) (“[T]he government flirted with the line between

the presentation of probative evidence and the use of a witness simply to state a

legal conclusion.”); Sullivan v. Glenn, 502 B.R. 516, 545 n.11 (Bankr. N.D. Ill. 2013)

(“Equally lacking in probative value is Sullivan’s attempt to procure in direct

testimony an admission from Michael that Chung was Michael’s agent. What

constitutes an agent for the purposes of ascribing vicarious liability is a legal

conclusion. As such, it is for the court to determine.”).

      Second, Defendants also mischaracterize the deposition testimony on which

they rely. In testifying as Cabell County’s Rule 30(b)(6) designee, Ms. Thompson

made a critical point, which Defendants ignore, that provides necessary context to


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much of the testimony that Defendants quote and mischaracterize in their motion.

Simply put, Cabell County has been resource-constrained throughout the period of

the opioid epidemic:

      Q. So the County Commission determines how much money the
      sheriff’s office has to operate each year; is that right?

      A. In a sense, yes.

      Q. Is there a sense in which that’s incorrect?

      A. Well, there is only so much money there for each office to operate
      on.

      Q. Okay. So your point is that the county has a finite budget, but
      within that budget, the County Commission sets the budget of the
      sheriff’s office; is that right?

      A. Yes.

Thompson Dep. Tr. (Doc. 1005-3) at 26:21-27:8.

      This point is critical because most of Ms. Thompson’s testimony that

Defendants quote or characterize reflects not a lack of legal authority to take action,

but a past lack of resources that resulted in the County not taking action. See

Memo of law 2-4, items #1, 10, 13 (County did not set up sober-living homes or

Suboxone clinics or fund abuse treatment or recovery apart from grants received);

#2 (did not pass ordinance); #3 (did not limit prescribing); #4-5 (did not consider

opioids in connection with Health Department or Hospital Boards); #6 (did not

identify mis-prescribing doctors or mis-dispensing pharmacies); #7-8 (did not budget

funds to police opioid theft or dealing); #12 (did not consider any budget request for

opioid programming). These statements that Cabell County did not take these


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actions in the face of budget constraints are not an admission that the County could

not take these actions due to a lack of legal authority.

      Defendants’ arguments based upon Ms. Thompson’s deposition testimony

thus are incorrect on their own terms and are irrelevant in any event. W. Va. Code

§ 7-1-3kk plainly establishes that Cabell County has power and authority to take

“appropriate and necessary actions . . . to abate or cause to be abated anything

which the commission determines to be a public nuisance.” The existence of this

authority is a pure question of law on which witness testimony is neither relevant

nor admissible. Defendants’ motion on this question therefore must be denied.

                                   CONCLUSION

      For all of the reasons set forth, the Court should deny Defendants’ motion for

summary judgment on Plaintiff Cabell County Commission’s right to abatement.

Dated: October 6, 2020                         Respectfully submitted,

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                            CERTIFICATE OF SERVICE

      I certify that on October 6, 2020, a copy of the foregoing was filed electronically.

Notice of this filing will be sent to all parties by operation of the Court’s electronic

filing system. Parties may access this filing through the Court’s system. This filing

will also be served on all parties by email to:

Track2OpioidDefendants@ReedSmith.com and CT2_Opioid_Team@mail-list.com.




                                                  /s/ Anthony J. Majestro
